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  Attorneys for Plaintiff
  UNITED STATES OF AMERICA


                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII
  UNITED STATES OF AMERICA,               CR. NO. 19-00099 DKW

                   Plaintiff,
                                          GOVERNMENT’S FORTY-SIXTH
        vs.                               SUPPLEMENTAL EXHIBIT LIST;
                                          CERTIFICATE OF SERVICE
  MICHAEL J. MISKE, JR.,        (01)
      aka “Bro,”

                   Defendant.


       GOVERNMENT’S FORTY-SIXTH SUPPLEMENTAL EXHIBIT LIST
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        The Government hereby submits its forty-sixth supplemental exhibit list,

  attached hereto, in the above-captioned matter. The Government reserves the right

  to add to, delete from, or otherwise modify this list during the course of the trial.

        DATED: June 30, 2024, at Honolulu, Hawaii.

                                                 CLARE E. CONNORS
                                                 United States Attorney
                                                 District of Hawaii


                                          By     /s/ Mark A. Inciong
                                                 MICHAEL D. NAMMAR
                                                 MARK A. INCIONG
                                                 W. KEAUPUNI AKINA
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                UNITED STATES DISTRICT COURT
                             DISTRICT OF HAWAII
   ═══════════════════════════════════════════════════════
  UNITED STATES OF AMERICA                                FORTY-SIXTH
                                              SUPPLEMENTAL EXHIBIT LIST

              v.
                                                         CR. NO. 19-00099 DKW
  MICHAEL J. MISKE JR.,


   Presiding Judge:         Plaintiff’s Attorneys:       Defense Attorneys:
   Derrick K. Watson        Mark A. Inciong              Lynn Panagakos
                            Michael D. Nammar            Michael Kennedy
                            W. KeAupuni Akina
                            Aislinn Affinito

   Trial Date               Court Reporter:              Courtroom Deputy:
   January 8, 2024                                       Tammy Kimura



   EXH.     DESCRIPTION                                  DATE    DATE
   NO.                                                   OFFERED ADMITTED
   1-1148   Sworn testimony of Phil Carson in U.S. v.
            Munoz, 3;21-cr-010-MMD-CLB (District
            of Nevada); Sept. 14, 2022
   1-1149   Signed Rule 16(b)(1)(G)(iii) disclosure by
            Phil Carson
   1-1150   Transcript of sworn statement of Phillip
            Carson in OIG investigation #2017-
            011850, August 17, 2017
   1-1151   FBI Giglio letter re: Philip Carson, June
            26, 2024
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                           CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was served on the following

  counsel on the date and in the manner described below:

  Served Electronically through CM/ECF:

  Lynn Panagakos, Esq.                              Attorneys for Defendant
  Michael Jerome Kennedy, Esq.                      MICHAEL J. MISKE, JR.


        DATED: June 30, 2024, at Honolulu, Hawaii.


                                          /s/ Kari Sherman
                                          U.S. Attorney’s Office
                                          District of Hawaii
